                Case 3:21-cv-08013-SPL Document 267 Filed 06/12/24 Page 1 of 1



                                    DISTRICT JUDGE'S CIVIL MINUTES
                           IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF ARIZONA – PHOENIX
U.S. District Judge: Steven P. Logan                               Date: June 12, 2024
Case Number: CV-21-08013-PCT-SPL
Sweidy v. Spring Ridge Academy et al

APPEARANCES: Plaintiff(s) Counsel                                  Defendant(s) Counsel
             Mara Smith Allard                                     Michael B. Smith
             Kimberly Rene Sweidy                                  Robert Grasso

JURY TRIAL – DAY 10
9:04 a.m. Court is in session. Counsel are present. Plaintiff Kimberly Rene Sweidy present. Defendant
Kate Deily present. Spring Ridge Academy Client Representative Suzanne Courtney present. Jury is
present. Kimberly Rene Sweidy, previously sworn, resumes the stand and is further examined.
Plaintiff rests. FOR THE DEFENDANT (resumed): Kate Deily, previously sworn, resumes the
stand and is examined and cross-examined. 10:23 a.m. Court stands in recess.

10:46 a.m. Court reconvenes. Counsel are present. Plaintiff Kimberly Rene Sweidy present.
Defendant Kate Deily present. Spring Ridge Academy Client Representative Suzanne Courtney
present. Jury is present. Defense rests. 10:47 a.m. Jury is excused and court remains in session.
Verdict and final jury instructions are settled. Argument heard on Defendant’s Rule 50(a) Motion
(Doc. 263). For the reasons stated on the record, IT IS ORDERED denying Defendant’s Rule 50(a)
Motion. 11:28 a.m. Court stands in recess.

12:58 p.m. Court reconvenes. Counsel are present. Plaintiff Kimberly Rene Sweidy present.
Defendant Kate Deily present. Spring Ridge Academy Client Representative Suzanne Courtney
present. Jury is not present. Trial matters discussed. Jury is now present. Plaintiff presents closing
arguments. 2:31 p.m. Court stands in recess.

2:52 p.m. Court reconvenes. Counsel are present. Plaintiff Kimberly Rene Sweidy present. Defendant
Kate Deily present. Spring Ridge Academy Client Representative Suzanne Courtney present. Jury is
present. Closing arguments presented.

4:25 p.m. Court stands in recess until 9:00 a.m. on Thursday, June 13, 2024.


Deputy Clerk: Molly Williams                                                         Jury Tr: 5h 7m
Court Reporter: Teri Veres (AM); Elva Cruz-Lauer (PM)                                Start: 9:04 am
                                                                                     Stop: 4:25 pm
